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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :
         -vs-                           :    No. 3: 23-CR-26-07
MAURICE FAULKNER,                       :    (JUDGE MANNION)
                    Defendant           :


          GOVERNMENT’S SENTENCING MEMORANDUM

     The defendant, Maurice Faulkner, is presently scheduled for

sentencing before this Honorable Court on August 26, 2024, after

having entered a guilty plea to Count 1 of the Indictment, the charge of

Conspiracy to Distribute and Possess with Intent to Distribute

Fentanyl, a Schedule II Controlled Substance, in violation of 21 U.S.C. §

846. The government hereby submits this sentencing memorandum as

an aid to the Court in rendering a just sentence in this matter.


     Pursuant to the terms of the plea agreement in this case (Doc.

397), the parties agreed to recommend that at least 280 grams of

fentanyl, but less than 400 grams of fentanyl, are attributable to the

defendant for the purposes of sentencing. Id. at ¶ 4.




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     The Offense:


     The offense conduct is set forth in detail in the PSR. (See ¶¶ 7-

16). This investigation began on February 18, 2021, after the drug

overdose death of a twenty-eight-year-old woman in Wilkes-Barre. (¶ 7).

The overdose victim was found alone in her vehicle with the engine still

running. Three small blue pills – each stamped “M-30” – were found

inside her vehicle. The investigation would reveal that the victim had

purchased four small blue pills from a Wilkes-Barre based drug dealer

and that she died after ingesting one of the pills.


     As the investigation progressed, investigators learned of a wide-

ranging drug trafficking conspiracy involving the trafficking of fentanyl

pills sent via mail from Arizona to Pennsylvania. The indictment

presently before the Court charges a conspiracy beginning in January

2020 through the date of the indictment – February 14, 2023. Many of

the defendants in this indictment were ordering large quantities of

fentanyl pills from, and transmitting cash payments to, one of several

fentanyl sources in Arizona, including Davon Beckford and Tyla Griffin

(both charged in a separate indictment), Shane Burns and/or Christina

Patacky-Beghin. Packages containing fentanyl pills were then sent to
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Pennsylvania from Arizona via the U.S. Postal Service.


     Maurice Faulkner’s role in the conspiracy involved sending money

via “CashApp” to Davon Beckford’s “sister” and co-conspirator,

Mercedes Smith, in Pennsylvania, or directly to Beckford in Arizona.

Beckford would then send packages containing fentanyl pills to an

address associated with Faulkner in Ashley, Luzerne County. Images

of tracking receipts found in Beckford’s phone were tracked to the

Ashley address in Luzerne County. The IP address used to track some

of the mail packages is subscribed to Maurice Faulkner. Text messages

between Beckford and Mercedes Smith (Beckford’s money collector)

indicate that Faulkner, aka “Moe,” would be meeting on multiple

occasions with Mercedes Smith to provide her with money, which Smith

would later send to her brother, Beckford.


     Upon receipt of the pills from Beckford, Maurice Faulkner would

distribute the pills in the Luzerne County area.


     The parties agree that at least 280 grams but less than 400 grams

of fentanyl are attributable to Twyman for purposes of sentencing.




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     The Presentence Report:


     The U.S. Probation Office prepared a Presentence Investigation

Report (PSR) in this case. The PSR indicates that the defendant’s total

offense level is 25 and the criminal history category is III, resulting in

an advisory guideline range of 70 to 87 months. PSR ¶ 68.


     The PSR indicates that the defendant has prior criminal

convictions for the following offenses:


     ¶ 33 Petit Larceny (Arrested in 2004) On March 15, 2004, Maurice
Faulkner grabbed a female victim’s arm and stole her cellular telephone
in Brooklyn, NY.

     ¶ 34 Robbery-3rd Degree (Arrested in 2004) On April 16, 2004,
Maurice Faulkner used a firearm and forcibly stole a motorcycle from a
male victim in Queens County, NY.

      ¶35 DUI- Highest Rate of Alcohol (Arrested in 2010) On April 25,
2010, Maurice Faulkner was pulled over by the police for speeding and
having an inoperable taillight in the 500 block of Lackawanna Avenue
in Scranton. While speaking with Faulkner, police observed him to have
bloodshot eyes, slurred speech, and a strong odor of alcohol. Faulkner
was arrested after he failed filed sobriety tests. A subsequent blood
alcohol test revealed a blood alcohol content of .209%. (The legal limit
is up to .08%).

     ¶36 Disorderly Conduct (Arrested in 2011) According to a
Scranton Police Department report, on April 15, 2011, Maurice
Faulkner was involved in a motorcycle accident on Spruce Street in
Scranton. The defendant told officers that his name was Gerald
Johnson.


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     ¶37 Criminal Use of a Communication Facility (Arrested in 2015)

      On March 3, 2015, Lackawanna County detectives utilized a
confidential informant to make a purchase of cocaine base (crack) from
Maurice Faulkner near Meade Avenue and Court Street in Scranton. A
second controlled purchase of cocaine base was arranged from Maurice
Faulkner on March 11, 2015, near Green Ridge Street and Dickson
Avenue in Scranton.

     ¶38 Driving Without a License (Arrested in 2019) The defendant
was issued a traffic citation.

      The Criminal History Category here is III.



     The Sentencing Process:

     District courts engage in a familiar three-step process when

sentencing criminal defendants:

     A district court must begin the process by first calculating the
     applicable sentencing guidelines range. After that initial
     calculation, the court must then rule on any motions for departure
     and, if a motion is granted, state how the departure affects the
     guidelines calculation. Finally, after allowing the parties an
     opportunity for argument, the court must consider all of the §
     3553(a) factors and determine the appropriate sentence to impose,
     which may vary from the sentencing range called for by the
     guidelines.

United States v. Tomko, 562 F.3d 558, 567 (3d Cir. 2009) (en banc).

     As indicated, in the PSR, the U.S. Probation Office determined

that the defendant’s total offense level is 23 and her criminal history

category is III, resulting in an advisory guideline range of 70 to 87

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months.


    The Sentencing Factors:
    Under the sentencing statute, the sentence to be imposed needs to

reflect the seriousness of the offense, promote respect for the law,

provide for just punishment, deter others from engaging in similar

conduct, protect the public from further crimes of the defendant, and

provide the defendant with needed educational or vocational training,

medical care, or other correctional treatment in the most effective

manner. 18 U.S.C. § 3553(a)(2).

    Fentanyl is Killing Americans at an Unprecedented Rate:

    Here, the defendant is responsible for the distribution, and

possession with intent to distribute, between 280 and 400 grams of

fentanyl. The crime is serious. Fentanyl is a highly addictive and

dangerous substance. The amount for which the defendant is

accountable is significant, particularly when one considers that the use

– literally – of just a few grains or specks of fentanyl can result in

overdose or death. In fact, the investigation in the present matter

began with the accidental overdose death of a twenty-eight-year-old

woman in Wilkes-Barre.


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           More than 1 million people have died since 1999 from a drug

overdose. 1 In 2021, 75% of drug overdose deaths involved an opioid,

including prescription opioids, heroin, and fentanyl.2 Overdoses

involving opioids killed more than 80,000 people in 2021 and nearly

88% of those deaths involved synthetic opioids like fentanyl. 3

           Provisional data shows that drug overdose deaths in the United

States surpassed 100,000 in 2022. 4 Fentanyl was responsible for 73,654

of those deaths.5 Fentanyl deaths have increased every year for the

past decade. 6

           In April 2022, DEA administrator Anne Milgram outlined the

current fentanyl overdose threat and stated, “Fentanyl is killing

Americans at an unprecedented rate. Already this year, numerous

mass-overdose events have resulted in dozens of overdoses and deaths.

Drug traffickers are driving addiction, and increasing their profits, by

mixing fentanyl with other illicit drugs. Tragically, many overdose


1 Data Overview | Opioids | CDC
2   Id.
3   Id.
4 Provisional Data Shows U.S. Drug Overdose Deaths Top 100,000 in

2022 | Blogs | CDC
5 Are fentanyl overdose deaths rising in the US? (usafacts.org)
6 Id.

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victims have no idea they are ingesting deadly fentanyl, until it’s too

late.”7 (This is precisely what happened in the present investigation.

The accidental overdose victim in Wilkes-Barre thought she was

ingesting a Percocet pill.)


     According to the Pennsylvania Attorney General’s Office, the

opioid epidemic is the number one public health and public safety

challenge facing Pennsylvania. 8 Pennsylvania’s overdose death rate is

71.9% higher than the national average overdose death rate.9 Over 6%

of nationwide overdose deaths occur in Pennsylvania. 10 As this Court is

well aware, the opioid epidemic continues to impact the Middle District

of Pennsylvania.


     In August 2023, the Pennsylvania Department of Health issued

their findings regarding fatal and non-fatal overdoses in Pennsylvania

in 2021. 11 In 2021, 5,356 drug overdose deaths occurred in


7 https://www.dea.gov/press-releases/2022/04/06/dea-warns-increase-

mass-overdose-events-involving-deadly-fentanyl
8 Opioid Battle – PA Office of Attorney General
9 Drug Overdose Death Statistics [2023]: Opioids, Fentanyl & More

(drugabusestatistics.org)
10 Drug Overdose Death Statistics [2023]: Opioids, Fentanyl & More

(drugabusestatistics.org)
11
   Pennsylvania Overdose Data Brief 2021.pdf (pa.gov)
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Pennsylvania and 85% were confirmed to be opioid related. 12


     Importantly, for every drug overdose that results in death, there

are many more nonfatal overdoses. 13 People who have had at least one

overdose are more likely to have another. 14 Between January 1, 2018,

and July 15, 2023, Pennsylvania emergency service personnel

administered 89,360 doses of Naloxone.15 During that same time

period, there were 52,570 emergency room visits for opioid overdoses. 16

Accordingly, there are scores of individuals living with addiction and

committing crimes to support their habits. Crime increases when

addicts deplete their savings and bargain away their possessions to

support their habit.

      Interviews of drug users and treatment personnel indicate that

users often experience multiple drug overdoses in the course of their

drug use, and “widespread naloxone availability has resulted in many




12 Pennsylvania Overdose Data Brief 2021.pdf (pa.gov)
13 Understanding Drug Overdoses and Deaths | Drug Overdose | CDC

Injury Center
14 Understanding Drug Overdoses and Deaths | Drug Overdose | CDC

Injury Center
15 Pennsylvania Opioids | PA Open Data Portal
16 Pennsylvania Opioids | PA Open Data Portal

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lives saved.” 17 In addition to the overdoses, the economic and social

costs to the community are overwhelming. Fentanyl, heroin, and other

opioids tear apart families, and the community is left to support loved

ones left behind. It has impacted families across all racial groups,

geographic regions and socioeconomic classes. 18

           This Court should consider these statistics and the havoc that

fentanyl and the other opioids are wreaking in our community when it

imposes its sentence in this case.


           Maurice Faulkner was part of a wide-spread fentanyl trafficking

conspiracy that wreaked havoc in our community. The conspiracy in

which he participated was responsible for distributing thousands of

fentanyl pills on the streets of Northeastern Pennsylvania.


           From the government’s perspective, the important factors set forth

in 18 U.S.C. §3553(a) which the Court must consider in imposing a

sentence on this defendant include the need for the sentence to:


           • reflect the seriousness of the offense,




17   Id.
18 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7829093/

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     • promote respect for the law,

     • provide just punishment for the offense,

     • afford adequate deterrence to criminal conduct and

     • protect the public from further crimes of the defendant.


(See 18 U.S.C. § 3553(a)).


     Based on the above, the government recommends that this Court

impose a sentence which is within – and not below – the advisory

guideline range of 70 to 87 months.




                                           Respectfully submitted,


                                           GERARD M. KARAM
                                           United States Attorney


                                       By: /s/ ROBERT J. O’HARA
                                          ROBERT J. O’HARA
                                          Assistant U.S. Attorney
Date: August 20, 2024




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                     CERTIFICATE OF SERVICE



      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion as to be
competent to serve papers.



     That on August 20, 2024, she served a copy of the attached:

         GOVERNMENT’S SENTENCING MEMORANDUM



By email to:

Attorney Joseph P. Kalinowski
Counsel for the Defendant


                                 /s/ Terri Pendolphi

                                 Legal Assistant




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